     Case 4:23-cv-03729 Document 41-1 Filed on 03/18/24 in TXSD Page 1 of 3



                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION


Michael D. Van Deelen,                      )
                                            )
       Plaintiff,                           )
                                            )
                                            )
v.                                          )    Case No. 4:23-cv-3729
                                            )
David R. Jones, Elizabeth Carol Freeman,    )
Jackson Walker, LLP, Kirkland & Ellis, LLP, )
and Kirkland & Ellis International, LLP,    )
                                            )
       Defendant(s).                        )



  DECLARATION OF JACQUELINE M. FURLOW IN SUPPORT OF DEFENDANTS
   KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS INTERNATIONAL LLP’S
            MOTION FOR SANCTIONS PURSUANT TO RULE 11




                                           -1-
                         DECLARATION OF JACQUELINE M. FURLOW
6604006
     Case 4:23-cv-03729 Document 41-1 Filed on 03/18/24 in TXSD Page 2 of 3



                        DECLARATION OF JACQUELINE M. FURLOW

          I, Jacqueline M. Furlow, make this declaration pursuant to 28 U.S.C. § 1746 under penalty

of perjury. I have personal knowledge of the facts stated herein.

          1.     I am a partner with the law firm of Beck Redden LLP and one of the counsel of

record for Defendants Kirkland & Ellis LLP and Kirkland & Ellis International LLP in the above-

captioned lawsuit. As a result of that representation, I have personal knowledge of the facts stated

herein.

          2.     Attached as Exhibit 1 is a true and correct copy of a Wall Street Journal article I

believe to be cited at paragraph 62 of the First Amended Complaint (“FAC”), entitled “Bankruptcy

Judge Jones Named in a Lawsuit Over Romantic Relationship With Local Lawyer,” last updated

October 7, 2023, available at https://www.wsj.com/articles/bankruptcy-judge-jones-named-in-a-

lawsuit-over-romantic-relationship-with-local-lawyer-71df2c00.

          3.     Attached as Exhibit 2 is a true and correct copy of a U.S. News article cited at

paragraph 27 of the FAC, entitled “Exclusive-Law Firm Tied to Bankruptcy Judge Resignation

Did Not Make Conflict Disclosures – Data Analysis,” October 30, 2023, available at

https://www.usnews.com/news/top-news/articles/2023-10-30/exclusive-law-firm-tied-to-

bankruptcy-judge-resignation-did-not-make-conflict-disclosures-data-analysis.

          4.     Attached as Exhibit 3 is a true and correct copy of a Financial Times article cited

at paragraphs 20 and 70 of the FAC, entitled “The Downfall of the Judge who Dominated

Bankruptcy in America,” November 21, 2023, available at https://www.ft.com/content/574f0940-

d82e-4e4a-98bd-271058cce434.

          I declare under penalty of perjury that the foregoing is true and correct.




                                                  -2-
                              DECLARATION OF JACQUELINE M. FURLOW
6604006
     Case 4:23-cv-03729 Document 41-1 Filed on 03/18/24 in TXSD Page 3 of 3



          Executed on this 23nd day of February, 2024, at Houston, Texas.




                                                       ~
                                                       f'
                                                                ~
                                                      Jacqueline M. Furlow, Declarant




                                                -3-
                             DECLARATION OF JACQUELINE M. FURLOW
6604006
